            Case 2:15-cv-05346-CJC-E Document 527 Filed 01/02/22 Page 1 of 2 Page ID #:38283
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                           APPLICATION TO THE CLERK TO TAX COSTS

 T.P., et al.
                                                           V.                                                                                      Case Number:                         2:15-cv-05346-CJC-E
 Walt Disney Parks and Resorts U.S., Inc.

Judgment was entered in this action on                                                          6/29/2021 /                           516             against Plaintiffs
                                                                                                        Date                     Docket No.
                                                                                                                                                                                                                                                                     .

    NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Clerk's Fees (L.R. 54-3.1):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         $400.00
 Fees for Service of Process (L.R. 54-3.2): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           $22,460.30
 United States Marshal’s Fees (L.R. 54-3.3):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    $0.00
 Transcripts of Court Proceedings (L.R. 54-3.4): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           $0.00
 Depositions (L.R. 54-3.5): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         $38,325.67
 Witness Fees - itemize on page 2 (L.R. 54-3.6): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      $760.00
 Interpreter’s Fees (L.R. 54-3.7): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                $785.00
 Docket Fees (L.R. 54-3.8): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              $0.00
 Court-Appointed Experts, Masters, Commissioners, and Receivers (L.R. 54-3.9): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                             $0.00
 Certification, Exemplification and Reproduction of Documents (L.R. 54-3.10): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                     $23,656.42
 Premiums on Undertakings and Bonds (L.R. 54-3.11): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          $0.00
 Other Costs - attach court order (L.R. 54-3.12): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          $0.00
 State Court Costs (L.R. 54-3.13):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      $0.00
 Costs on Appeal (L.R. 54-4): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  $0.00
 Costs on a Bankruptcy Appeal to the District Court (L.R. 54-5): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   $0.00

                                                                                                                                                                                                                                    TOTAL                   $86,387.39

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                             DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 /s/ Jeremy White                                                                                                                                                                Jeremy White
 Signature                                                                                                                                                                       Print Name

 Attorney for: Defendant Walt Disney Parks and Resorts U.S., Inc.

 Costs are taxed in the amount of                                                                $86,387.39

    Kiry K. Gray                                                                                                                                                                                                                        January 2, 2022
                                                                                                                By:
Clerk of Court                                                                                                               Deputy Clerk                                                                                                            Date

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                                 WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                     ATTENDANCE             SUBSISTENCE           MILEAGE
                                                                                                                     Total Cost
                NAME, CITY AND STATE
                                                    Days                Days                           Total Cost   Each Witness
                                                           Total Cost            Total Cost   Miles
                Dr. C. Leroy Anderson                1       $40.00                                                           $40.00
                        N.F.                         1       $40.00                                                           $40.00
                Dr. David Markowitz                  1       $40.00                                                           $40.00
                   Dr. Joette James                  1       $40.00                                                           $40.00
                        S.M.                         1       $40.00                                                           $40.00
                        K.G.                         1       $40.00                                                           $40.00
                        M.H.                         1       $40.00                                                           $40.00
                        A.H.                         1       $40.00                                                           $40.00
                        F.C.                         1       $40.00                                                           $40.00
                  Dr. Stephen Elliot                 1       $40.00                                                           $40.00
                  Dr. Angela Klutts                  1       $40.00                                                           $40.00
                 Dr. Lynne Foreman                   1       $40.00                                                           $40.00
                  Dr. Carissa Meyer                  1       $40.00                                                           $40.00
                Dr. Quoc-Hung Tran                   1       $40.00                                                           $40.00
                         F.Z.                        1       $40.00                                                           $40.00
                Diana Diaz-Harrison                  1       $40.00                                                           $40.00
                        W.V.                         1       $40.00                                                           $40.00
                   Dr. Lila Kimel                    2       $80.00                                                           $80.00




                                                                                                         TOTAL              $760.00


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